        Case 1:17-cv-04001-MHC Document 1 Filed 10/11/17 Page 1 of 10




                          UNITED STATES DISTRICT COURT
                                    FOR THE
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


J & J SPORTS PRODUCTIONS,                   Case No.
INC. ,                                      ___________________________

                      Plaintiff,

                    vs.

TWO LEVEL ENTERPRISE, LLC
D/B/A REMY LOUNGE,

                      Defendant.



                          COMPLAINT FOR DAMAGES

                     DESIGNATION: PROPERTY RIGHTS

                                   JURISDICTION

1.    Plaintiff seeks relief for the Defendant’s violations of the Communications

Act of 1934, as amended, Title 47 U.S.C. Section 605, et seq., and The Cable &

Television Consumer Protection and Competition Act of 1992, as amended, Title 47

U.S.C. Section 553, et seq.




                                        1
        Case 1:17-cv-04001-MHC Document 1 Filed 10/11/17 Page 2 of 10




2.     This Court has jurisdiction of the subject matter of this action pursuant to 28

U.S.C. Section 1331, which states that the district courts shall have original

jurisdiction of all civil actions arising under the Constitution, laws, or treaties, of the

United States.



3.     This Court has personal jurisdiction over the parties in this action as a result

of the Defendant’s wrongful acts hereinafter complained of which violated the

Plaintiff’s rights as the exclusive commercial domestic distributor of the televised

fight program hereinafter set forth at length.         The Defendant’s wrongful acts

consisted of the interception, publication, and tortious conversion of said property of

Plaintiff within the control of the Plaintiff in the State of Georgia.


                                        VENUE

4.     Pursuant to Title 47 U.S.C. Section 605, venue is proper in the Northern

District of Georgia, Atlanta Division, because a substantial part of the events or

omissions giving rise to the claim occurred in this District.




                                             2
        Case 1:17-cv-04001-MHC Document 1 Filed 10/11/17 Page 3 of 10




                                   THE PARTIES

5.    The Plaintiff, J & J Sports Productions, Inc. is, and at all relevant times

mentioned was a California corporation with its principal place of business located

at 2380 South Bascom Avenue, Suite 200, Campbell, CA 95008.



6.    Defendant Two Level Enterprise, LLC is a Georgia limited liability company

with its principal place of business located at 1817 Mountain Industrial Boulevard,

Suite B, Tucker, GA 30084 and does business as Remy Lounge operating at 1817

Mountain Industrial Boulevard, Unit B, Tucker, GA 30084. Defendant Two Level

Enterprise, LLC is subject to the venue and jurisdiction of this court.


                                      COUNT I

                     (Violation of Title 47 U.S.C. Section 605)



7.    Plaintiff had the exclusive nationwide television distribution rights to the

Manny Pacquiao v. Timothy Bradley, II – WBO Welterweight Championship Fight

Program telecast which took place on April 12, 2014 (this included all under-card

bouts and fight commentary encompassed in the television broadcast of the event,

hereinafter referred to as the “Program”).

                                             3
            Case 1:17-cv-04001-MHC Document 1 Filed 10/11/17 Page 4 of 10




8.     Plaintiff entered into subsequent sublicensing agreements with various

commercial entities throughout North America, including entities within the State of

Georgia, by which it granted these entities limited sublicensing rights, specifically

the rights to publicly exhibit the Program to the patrons within their respective

establishments (i.e., hotels, racetracks, casinos, bars, taverns, restaurants, social

clubs, etc.)



9.     As a commercial distributor of sporting events, including the Program,

Plaintiff     expended   substantial   monies   marketing,   advertising,   promoting,

administering, and transmitting the Program to its customers, the aforementioned

commercial entities.



10.    Defendant Two Level Enterprise, LLC did not contract with the Plaintiff or

pay the necessary sublicense fee required to obtain the Program for its commercial

establishment. Therefore it did not have any authorization to show the Program.



11.    Defendant Two Level Enterprise, LLC unlawfully showed the Program at

Remy Lounge on the night of April 12, 2014 with full knowledge that the Program

was not to be intercepted, received and exhibited by it because it did not have
                                            4
        Case 1:17-cv-04001-MHC Document 1 Filed 10/11/17 Page 5 of 10




authorization.



12.    The unauthorized interception, publication, exhibition and divulgence of the

Program was done willfully since Defendant Two Level Enterprise, LLC used a

deliberate act to receive the Event which was unauthorized and it was done for

purposes of commercial advantage and private financial gain.



13.    Title 47 U.S.C. Section 605, et seq., prohibits the unauthorized publication or

use of communications (such as the transmission for which Plaintiff had the

distribution rights thereto) and prohibits individuals from assisting in the

unauthorized publication or use of such communications.



14.    By reason of the aforesaid mentioned conduct, Defendant Two Level

Enterprise, LLC violated Title 47 U.S.C. Section 605, et seq. since it was not

authorized to show the Program at Remy Lounge.



15.    By reason of the Defendant’s violation of Title 47 U.S.C. Section 605, et seq.,

Plaintiff has a private right of action.


                                           5
        Case 1:17-cv-04001-MHC Document 1 Filed 10/11/17 Page 6 of 10




16.   As the result of the aforementioned Defendant’s violation of Title 47 U.S.C.

Section 605 Plaintiff is entitled to the following from Defendant:

      (a)    Statutory damages for each violation in an amount up to $10,000.00

             pursuant to Title 47 U.S.C. 605(e)(3)(C)(i)(II), and also

      (b)    Statutory damages for each willful violation in an amount up to

             $100,000.00 pursuant to Title 47 U.S.C. 605(e)(3)(C)(ii), and also

      (c)    Recovery of full costs, including reasonable attorneys’ fees, pursuant

             to Title 47 U.S.C. Section 605(e)(3)(B)(iii).



      WHEREFORE, Plaintiff prays for judgment as set forth below.



                                     COUNT II

                     (Violation of Title 47 U.S.C. Section 553)



17.   Title 47 U.S.C. Section 553 et seq. prohibits the unauthorized interception,

exhibition, publication, and divulgence of any communications service offered over

a cable system.




                                           6
        Case 1:17-cv-04001-MHC Document 1 Filed 10/11/17 Page 7 of 10




18.   As previously stated, Plaintiff J & J Sports Productions, Inc. was granted the

exclusive nationwide television distribution rights to the Program which took

place on April 12, 2014. The Program was only allowed to be exhibited in those

commercial establishments which entered into a sublicensing agreement with

Plaintiff and paid the required fee.



19.   Defendant Two Level Enterprise, LLC runs, manages and exercises control

over Remy Lounge.



20.   Plaintiff has no record of Defendant Two Level Enterprise, LLC ever

entering into a sublicensing agreement with Plaintiff J & J Sports Productions,

Inc. or paying the required fee for the Program to be shown at Remy Lounge on

April 12, 2014.



21.   Defendant Two Level Enterprise, LLC used unlawful means to receive the

cable signal required to exhibit the Program.



22.   Because Defendant was not given authorization to show the Program at Remy

Lounge on April 12, 2014, the aforementioned defendant violated Title 47 U.S.C.
                                         7
        Case 1:17-cv-04001-MHC Document 1 Filed 10/11/17 Page 8 of 10




Section 553, et seq.



23.    By reason of the Defendant’s violation of Title 47 U.S.C. Section 553, et seq.,

Plaintiff has a private right of action.



24.    As the result of the Defendant’s violation of Title 47 U.S.C. Section 553,

Plaintiff is entitled to the following from defendant:

       (a)    Statutory damages for each violation in an amount up to $10,000.00

              pursuant to Title 47 U.S.C. 553 (c)(3)(A)(ii), and also

       (b)    Statutory damages for each willful violation in an amount up to

              $50,000.00 pursuant Title 47 U.S.C. 553(c)(3)(B), and also

       (c)    the recovery of full costs pursuant to Title 47 U.S.C. Section 553

              (c)(2)(C), and also

       (d)    in the discretion of this Honorable Court, reasonable attorneys fees,

              pursuant to Title 47 U.S.C. Section 553 (c)(2)(C).



              WHEREFORE, Plaintiff prays for judgment as set forth below.




                                            8
 Case 1:17-cv-04001-MHC Document 1 Filed 10/11/17 Page 9 of 10




As to the First Count:

1.    For statutory damages in the amount of $10,000.00 against Defendant,

      and;

2.    Enhanced damages up to $100,000.00 against Defendant, and;

3.    For reasonable attorneys’ fees pursuant to statute, and;

4.    For all costs of suit, including but not limited to filing fees, service of

      process fees, investigative costs, and;

5.    For such other and further relief as this Honorable Court may deem

      just and proper.



As to the Second Count:

1.    For statutory damages in the amount of $10,000.00 against Defendant,

      and;

2.    Enhanced damages up to $50,000.00 against Defendant and;

3.    For reasonable attorneys’ fees as may be awarded in the Court’s

      discretion pursuant to statute, and;

4.    For all costs of suit, including but not limited to filing fees, service of

      process fees, investigative costs, and;


                                    9
 Case 1:17-cv-04001-MHC Document 1 Filed 10/11/17 Page 10 of 10




5.    For such other and further relief as this Honorable Court may deem just

      and proper.

This the 11th day of October, 2017.

                                 RAGSDALE, BEALS, SEIGLER,
                                  PATTERSON & GRAY, LLP

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                                      10
